Case 8:21-bk-11710-ES        Doc 201 Filed 08/25/22 Entered 08/25/22 15:49:24              Desc
                              Main Document     Page 1 of 8



 1 ERIC P. ISRAEL (State Bar No. 132426)
   eisrael@DanningGill.com
 2 AARON E. DE LEEST (State Bar No. 216832)
   adeleest@DanningGill.com
 3 DANNING, GILL, ISRAEL & KRASNOFF, LLP
   1901 Avenue of the Stars, Suite 450
 4 Los Angeles, California 90067-6006
   Telephone: (310) 277-0077
 5 Facsimile: (310) 277-5735

 6 Attorneys for Jeffrey I. Golden,
   Chapter 7 Trustee
 7

 8                            UNITED STATES BANKRUPTCY COURT

 9                             CENTRAL DISTRICT OF CALIFORNIA

10                                      SANTA ANA DIVISION

11

12 In re                                              Case No. 8:21-bk-11710-ES

13 JAMIE LYNN GALLIAN,                                Chapter 7

14                       Debtor.                      TRUSTEE’S NOTICE OF INTENT TO
                                                      ABANDON ESTATE’S INTEREST IN
15                                                    CLAIMS AGAINST RANDALL L.
                                                      NICKEL RELATING TO THE
16                                                    OCTOBER 2018 TRANSFER OF THE
                                                      DEBTOR’S INTEREST IN THE
17                                                    PROPERTY COMMONLY KNOWN AS
                                                      4476 ALDERPORT DR. #53,
18                                                    HUNTINGTON BEACH, CALIFORNIA
                                                      92649
19
                                                      [No Hearing Required]
20

21 TO ALL CREDITORS AND INTERESTED PARTIES:

22          PLEASE TAKE NOTICE THAT Jeffrey I. Golden, as the Chapter 7 trustee (the
23 “Trustee”) for the bankruptcy estate (the “Estate”) of Jamie Lynn Gallian (the “Debtor”), seeks to

24 abandon the Estate’s claims against Randall L. Nickel (“Nickel”) arising solely out of the October

25 2018 transfer (the “Transfer”) of the Debtor’s interest in the property commonly known as

26 4476 Alderport Dr. #53, Huntington Beach, California 92649 (the “Property”) to Nickel
27 (collectively, the “Claims”), including any claims under the Uniform Voidable Transactions Act

28 (California Civil Code §§ 3439 et seq.) and 11 U.S.C. § 544.
   1691822.2 27064                                  1
Case 8:21-bk-11710-ES          Doc 201 Filed 08/25/22 Entered 08/25/22 15:49:24               Desc
                                Main Document     Page 2 of 8



 1            The Trustee has investigated the Claims relating to the Transfer of the Property and has

 2 concluded that there is little to no value to the Estate in pursuing the Claims because the Trustee is

 3 not likely to recover more than the fees and costs to be incurred by the Estate. Accordingly, the

 4 Trustee believes that the Claims are burdensome to the Estate and of inconsequential value to the

 5 Estate. Therefore, the Trustee hereby gives notice of his intention to abandon the Claims.

 6            NOTICE IS ALSO GIVEN that, pursuant to Local Bankruptcy Rule 6007-1 and

 7 9013-1(o)(3), any objection and request for a hearing must, not later than fourteen days from the

 8 date of service of this notice, plus an additional three days if served by mail or pursuant to

 9 Fed. R. Civ. P. 5(b)(2)(D) or (F), be filed with the Clerk of the Bankruptcy Court and served on:

10 (1) Jeffrey I. Golden, Trustee, 650 Town Center Drive, Suite 600, Costa Mesa, CA 92626; (2) the

11 Office of the United States Trustee at 411 West Fourth Street, Suite 7160, Santa Ana, CA 92701;

12 and (3) counsel for the Trustee whose addresses is listed on the top left hand corner of this notice.

13            Pursuant to Local Bankruptcy Rule 6007-1(d), if no timely objection and request for a

14 hearing are filed and served, the Trustee will take the intended action without further notice or

15 order of the Court. Any objections not timely filed and properly served will be deemed waived.

16            Pursuant to Local Bankruptcy Rule 6007-1(d)(2), the Trustee may lodge a proposed order

17 confirming the Trustee’s abandonment of the Check but is not required to do so.

18            NOTICE IS ALSO GIVEN that, in the event that the Trustee receives an acceptable offer

19 to purchase the Claims before the expiration of the objection period set forth herein, the Trustee

20 reserves the right to withdraw this notice and seek Court approval of a sale of the Claims to the

21 highest bidder.

22

23 DATED: August 25, 2022                        DANNING, GILL, ISRAEL & KRASNOFF, LLP

24
                                                 By:          /s/ Aaron E. de Leest
25
                                                       AARON E. DE LEEST
26                                                     Attorneys for Jeffrey I. Golden,
                                                       Chapter 7 Trustee
27
     DATE OF MAILING: August 25, 2022
28
     1691822.2 27064                                    2
      Case 8:21-bk-11710-ES                   Doc 201 Filed 08/25/22 Entered 08/25/22 15:49:24                                      Desc
                                               Main Document     Page 3 of 8
                                     PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is 1901
Avenue of the Stars, Suite 450, Los Angeles, CA 90067-6006.

A true and correct copy of the foregoing document entitled (specify): TRUSTEE’S NOTICE OF INTENT TO
ABANDON ESTATE’S INTEREST IN CLAIMS AGAINST RANDALL L. NICKEL RELATING TO THE OCTOBER 2018
TRANSFER OF THE DEBTOR’S INTEREST IN THE PROPERTY COMMONLY KNOWN AS 4476 ALDERPORT DR.
#53, HUNTINGTON BEACH, CALIFORNIA 92649 will be served or was served (a) on the judge in chambers in the
form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

 1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
           Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document.
 On August 25, 2022 I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined
   that the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses
                                                      stated below: Service information continued on attached page.

2. SERVED BY UNITED STATES MAIL: On August 25, 2022 , I served the following persons and/or entities at the
last known addresses in this bankruptcy case or adversary proceeding by causing to be placed a true and correct copy
thereof in a sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing
the judge here constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the
document is filed.


                                                                                    Service information continued on attached page.

        3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state
                          method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on
 (date)                      , I served the following persons and/or entities by personal delivery, overnight mail service,
     or (for those who consented in writing to such service method), by facsimile transmission and/or email as follows.
         Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the judge will be
       completed no later than 24 hours after the document is filed. Service information continued on attached page.

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.



 August 25, 2022                         Vivian Servin                                         /s/ Vivian Servin
 Date                                    Printed Name                                          Signature




        This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                    F 9013-3.1.PROOF.SERVICE
     Case 8:21-bk-11710-ES                   Doc 201 Filed 08/25/22 Entered 08/25/22 15:49:24                                      Desc
                                              Main Document     Page 4 of 8
                                            ADDITIONAL SERVICE INFORMATION (if needed):


1. SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (“NEF”)

Aaron E DE Leest on behalf of Trustee Jeffrey I Golden (TR)
adeleest@DanningGill.com, danninggill@gmail.com;adeleest@ecf.inforuptcy.com

Robert P Goe on behalf of Creditor The Huntington Beach Gables Homeowners Association
kmurphy@goeforlaw.com, rgoe@goeforlaw.com;goeforecf@gmail.com

Robert P Goe on behalf of Plaintiff The Huntington Beach Gables Homeowners Association
kmurphy@goeforlaw.com, rgoe@goeforlaw.com;goeforecf@gmail.com

Jeffrey I Golden (TR)
lwerner@wgllp.com, jig@trustesolutions.net;kadele@wgllp.com

D Edward Hays on behalf of Creditor Houser Bros. Co. dba Rancho Del Rey Mobile Home Estates
ehays@marshackhays.com,
ehays@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com;cmendoza@marshackhays.com;cmendoza@ecf.c
ourtdrive.com

D Edward Hays on behalf of Interested Party Courtesy NEF
ehays@marshackhays.com,
ehays@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com;cmendoza@marshackhays.com;cmendoza@ecf.c
ourtdrive.com

D Edward Hays on behalf of Plaintiff Houser Bros. Co.
ehays@marshackhays.com,
ehays@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com;cmendoza@marshackhays.com;cmendoza@ecf.c
ourtdrive.com

Brandon J Iskander on behalf of Creditor The Huntington Beach Gables Homeowners Association
biskander@goeforlaw.com, kmurphy@goeforlaw.com

Brandon J Iskander on behalf of Plaintiff The Huntington Beach Gables Homeowners Association
biskander@goeforlaw.com, kmurphy@goeforlaw.com

Eric P Israel on behalf of Trustee Jeffrey I Golden (TR)
eisrael@DanningGill.com, danninggill@gmail.com;eisrael@ecf.inforuptcy.com

Laila Masud on behalf of Creditor Houser Bros. Co. dba Rancho Del Rey Mobile Home Estates
lmasud@marshackhays.com, lmasud@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com

Laila Masud on behalf of Interested Party Courtesy NEF
lmasud@marshackhays.com, lmasud@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com

Laila Masud on behalf of Plaintiff Houser Bros. Co.
lmasud@marshackhays.com, lmasud@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com

Mark A Mellor on behalf of Defendant Randall L Nickel
mail@mellorlawfirm.com, mellormr79158@notify.bestcase.com
       This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                   F 9013-3.1.PROOF.SERVICE
      Case 8:21-bk-11710-ES                   Doc 201 Filed 08/25/22 Entered 08/25/22 15:49:24                                      Desc
                                               Main Document     Page 5 of 8

Mark A Mellor on behalf of Interested Party Courtesy NEF
mail@mellorlawfirm.com, mellormr79158@notify.bestcase.com

Valerie Smith on behalf of Interested Party Courtesy NEF claims@recoverycorp.com

United States Trustee (SA)            ustpregion16.sa.ecf@usdoj.gov

2. SERVED BY U.S. MAIL

 Debtor                                           The Honorable Erithe Smith
 Jamie Lynn Gallian                               U.S. Bankruptcy Court
 16222 Monterey Ln SP #376                        411 West Fourth Street, Suite 5040
 Huntington Beach, CA 92649                       Santa Ana, CA 92701-4593


                                                                                                     Houser Bros. Co. dba Rancho Del Rey
 Employment Development Dept.                     Franchise Tax Board
                                                                                                     Mobile H
 Bankruptcy Group MIC 92E                         Bankruptcy Section MS: A-340
                                                                                                     c/o Marshack Hays LLP
 P.O. Box 826880                                  P.O. Box 2952
                                                                                                     870 Roosevelt
 Sacramento, CA 94280-0001                        Sacramento, CA 95812-2952
                                                                                                     Irvine, CA 92620-3663

                                                                                                     BS Investors
                                                                                                     Robert P. Warmington C/o
 Santa Ana Division                               Association of Flight Attendants
                                                                                                     Gorden May Grant, Genovese &
 411 West Fourth Street, Suite 2030,              625 No. River Road Ste. 4020
                                                                                                     Baratta
 Santa Ana, CA 92701-4500                         Rosemont, IL. 60018
                                                                                                     2030 Hain St. Ste. 1600
                                                                                                     Irvine, CA 92614

 County of Orange
                                                  David R. Flyer                                     Feldsott & Lee
 c/o Treasurer-Tax Collector
                                                  4120 Birch St. Ste. 101,                           23161 Mill Creek Drive Ste 30O
 P.O. Box 4515
                                                  Newport Beach, CA 92660-2228                       Laguna Hills, CA 92653-7907
 Santa Ana CA 92702-4515


 Frank Satalino
                                                  Gordon Rees Scully & Mansukhani                    Gordon Rees Scully & Mansukhani
 19 Velarde Ct.
                                                  5 Park Plaza Ste. 1100                             633 W 5th Street, 52nd Floor
 Rancho Santa Margarita, CA 92688-
                                                  Irvine, CA 92614-8502                              Los Angeles, CA 90071-2005
 8502


 Houser Bros. Co.                                 Houser Bros. Co.dba Rancho De1                     Houser Brothers Co.
 DBA Rancho De1 Rey Estates                       Rey Mobile Home Estates                            dba Rancho Del Rey Mobilehome Est.
 16222 Monterey Ln                                17610 Beach Blvd Ste. 32                           17610 Beach Blvd. Ste. 32
 Huntington Beachr CA 92649-6214                  Huntington Beach, CA 92647-6876                    Huntington Beach, CA 92647-6876


                                                  Huntington Beach Gables
 Huntington Beach Gables H0A
                                                  Homeowners Associati                               Huntington Harbor Village
 c/o Feldsott & Lee
                                                  Epstein, Grinnel & Howell, APC                     16400 Saybrook
 23161 Mill Creek Dr. Ste. 300 Laguna
                                                  10200 Willow Creek Rd Ste 100                      Huntington Beach, CA 92649-2277
 Hllls, CA 92653-7907
                                                  San Diego CA 92131-1655




        This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                    F 9013-3.1.PROOF.SERVICE
      Case 8:21-bk-11710-ES                   Doc 201 Filed 08/25/22 Entered 08/25/22 15:49:24                                      Desc
                                               Main Document     Page 6 of 8

                                                                                                     Huntington Mobile Home Investments
 Huntington Hobile Home Inv. LLC.                 Huntington Mobile Home Investments
                                                                                                     LLC
 430 S. San Dimas Ave.                            16400 Saybrook Lane
                                                                                                     1100 Newport Beach Blvd. Ste 1150
 San Dimasa CA 91773-4045                         Huntington Beach, CA 92649-2277
                                                                                                     Newport Beach, CA 92560



 Hyundai Capital America                          Hyundal Capital America                            Internal Revenue Service
 PO B0X 269011                                    P0 B0X 269011                                      PO Box 7346
 Plano, TX 75026-9011                             Plano, TX 75026-9011                               Philadelphia, 19101-7346



 Internal Revenue Service Insolvency              J-Sandcastle Co, LLC                               J-pad, LLC
 P0 B0X 7346                                      16222 Monterey Ln Unit 376                         21742 Anza Avenue
 Philadelphia, PA 19101-7346                      Huntington Beach CA 92649-2258                     Torrance, CA 90503-6428



                                                  James H Cosello
 J-pad, LLC                                                                                          Jamie Lynn Gallian
                                                  Casello & Lincoln,
 2702 N Gaff Street                                                                                  16222 Monterey Ln #376
                                                  525 N Cabrillo Park Dr. Ste 1O4
 Orange, CA 92865-2417                                                                               Huntington Beach, CA 92649-2258
                                                  Santa Ana, CA 92701-5017


                                                                                                     Janine Jasso
 Janine Jasso                                     JANINE JASSO                                       c/o Gordon Rees Scully &
 16025 Warmington Lane                            PO BOX 370161                                      Mansukhani
 Huntington Beach, CA 92649-2278                  EL PASO TX 79937-0161                              633 W 5th Street, 52nd Floor
                                                                                                     Los Angeles, CA 90071-2005

 Jennifer Ann Paulin
 c/o Gordon Rees Scully &                         Jennifer Paulin                                    Kia Motors Finance
 Mansukhani                                       4446 Alderport Dr.                                 PO Box 20815
 633 W 5th Street, 52nd Floor                     Huntington Beach, CA 92649-2286                    Fountain Valley, CA 92728-0815
 Los Angeles, CA 90071-2005

                                                                                                     Lee S. Gragnano
 Lee Gragnano                                     Lee Gragrano                                       c/o Gordon Rees Scully &
 16062 Warmington Ave.                            16062 Warmington Ave.                              Mansukhani
 Huntington Beacha CA 92649-2285                  Huntington Beach, CA 92649-2285                    633 W 5th Street, 52nd Floor
                                                                                                     Los Angeles, CA 90071-2005

 Linda Jean ''Lindy'' Bec
 c/o Gordon Rees Scully &                         Lindy Beck                                         Lisa T. Ryan
 Mansukhani                                       4443 Chase Dr.                                     20949 Lassen St. Apt 208
 633 W 5th Street, 52nd Floor                     Huntington Beach, CA 92649-2297                    Chatsworth, CA 91311-4239
 Los Angeles, CA 90071-2005

 Lori Ann Burrett
 c/o Gordon Rees Scully &                         Lori Burrett                                       Lori Burrett
 Mansukhani                                       16107 Harmington Lane                              16107 Sherlock Lane
 633 W 5th Street, 52nd Floor                     Huntington Beach, CA 92649-2281                    Huntington Beach, CA 92649-2293
 Los Angeles, CA 90071-2005




        This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                    F 9013-3.1.PROOF.SERVICE
     Case 8:21-bk-11710-ES                   Doc 201 Filed 08/25/22 Entered 08/25/22 15:49:24                                      Desc
                                              Main Document     Page 7 of 8

 Mark A.Mellor Mellor Law Firm                   Michael S. Devereux                                Nationwide Reconveyance, LLC
 c/o Randall Nickell                             Wex Law                                            c/o Feldsott & Lee
 6800 Indiana Ave.                               9171 Wilshire Blvd. Ste. 50O                       23161 Mill Creek Drive Ste 3O0
 Riverside, CA 92506-4267                        Beverly Hills, CA 90210-5536                       Laguna Hills, CA 92653-7908


                                                                                                    Orange County Superior Court
 Orange County Alternate Defender                Orange County Public Defender
                                                                                                    c/o Feldsott & Lee
 600 Santa Ana Blvd, Ste 600                     801 Civic Center Dr
                                                                                                    23161 Mill Creek Dr. Ste. 300
 Santa Ana CA 92701-4552                         West Santa Ana, CA 92702
                                                                                                    Laguna Hills, CA 92653-7907



 Patricia Ryan                                   People of the St of CA                             Randall Nickel
 20949 Lassen St. Apt 208                        8141 13th St                                       11619 Inwood Drive,
 Chattsworth, CA 91311-4239                      Westminster CA 92683-4576                          Riverside, CA 92503-5000



                                                 Randell Nickel                                     Randell Nickel
 Randall Nickell
                                                 c/o Mark Mellor, Esq.                              c/o Mark Mellor, Esq. Ste. 220 6800
 4476 Alderport Dr.
                                                 6800 Indiana Ave. Ste. 220                         Indiana Ave.
 Huntington Beach. CA 92649-2288
                                                 Riverside, CA 92506-4267                           Riverside, CA 92506


                                                 Robert P. Warmington Co.                           Robert P. Warmington Co.
 Raquel Flyer-Dashner
                                                 c/o BS Investors                                   c/o BS Investors LP
 4120 Birch St. Ste. 101,
                                                 18201 Von Karmen Ste. 450                          18201 Von Karmen Ste. 450
 Newport Beach, CA 92660-2228
                                                 Irvine, CA 92612-1195                              Irvine, CA 92612-1195



 Rutan & Tucker                                  S4 A California Limited Partnership                Sandra L. Bradley
 18575 Jamboree Rd 9th Fl                        1001 Cove St Ste 230                               18 Meadowwood
 Irvine CA 92612-2559                            Newport Beach CA 92660                             Coto De Caza, CA 92679-4738



                                                 Stanley Feldsott: Esq
 Sardra Bradley                                                                                     Steven A. Fink
                                                 Feldsott & Lee
 18 Meadow Hood                                                                                     13 Corporate Plaza Ste. l50
                                                 23161 Mill Creek Drive
 Coto De Caza, CA 92679-4738                                                                        Newport Beach, CA 92660-7919
                                                 Laguna Hills, CA 92653-7907


 Superior Court of CA                            Superior Default Services Inc                      Suzanne Tague
 County of Orange                                c/o Feldsott & Lee                                 Ross Wolcott, Teinert, Prout
 711 Civic Center Dr West                        23161 Mill Creek Drive Ste 30O                     3151 Airway Ave. S-1
 Santa Ana CA 92701-3907                         Laguna Hills, CA 92653-7908                        Costa Mesa, CA 92626-4627


                                                                                                    The Huntington Beach Gables
 Ted Phillips                                    Ted Phillips                                       Homeowners Association
 17162 Sandra Lee                                17912 Sandra Lee                                   c/o Epsten Grinnell & Howell APC
 Huntington Beach, CA 92649                      Huntington Beach, CA 92649                         10200 Willow Creek Road, Ste 10O
                                                                                                    San Diego, CA 92131-1669




       This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                   F 9013-3.1.PROOF.SERVICE
     Case 8:21-bk-11710-ES                    Doc 201 Filed 08/25/22 Entered 08/25/22 15:49:24                                      Desc
                                               Main Document     Page 8 of 8
 The Huntington Beach Gables                      The Huntington Beach Gables
 Homeowners Association                           Homeowners Assoc
                                                                                                     Theodore Phillips
 c/o Epsten Grinnell & Howell,                    c/o Goe Forsythe & Hodges LLP
                                                                                                     17612 Sandea Lee
 APC 10200 Willow Creek Road,                     18101 Von Karman Ave,
                                                                                                     Huntington Beach CA 92649
 Ste 100                                          Suite 1200
 San Diego, CA 92131                              Irvine, CA 92612-7119

 Theodore R ''Ted'' Phill
 c/o Gordon Rees Scully &                         US BANK                                            United Airlines
 Mansukhani                                       PO BOX 5229                                        233 S. Hacker Dr.
 633 W 5th Street, 52nd Floor                     CINCINNATI OH 45201-5229                           Chicago, IL 60606-6462
 Los Angeles, CA 90071-2005


                                                                                                     Vivienne J Alston
 United Airlines                                  United States Trustee (SA)
                                                                                                     Alston, Alston & Diebold
 P.O. Box 0675                                    411 W Fourth St., Suite 7160
                                                                                                     27201 Puerta Real Ste 300
 Carol Stream, 60132-0675                         Santa Ana, CA 92701-4500
                                                                                                     Mission Viejo, CA 92691-8590



 qennifer Paulin                                  zanine Jasso                                       Jamie Lynn Gallian
 4446 Alderport Dr.                               16025 Harmington Lane                              16222 Monterey Ln Unit 376
 Huntington Beach, CA 92649-2286                  Huntington Beach CA 92649-2278                     Huntington Beach, CA 92649-2258



 Jeffrey I Golden (TR)
 650 Town Center Drive, Suite 600
 Costa Mesa, CA 92626-7121




        This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                    F 9013-3.1.PROOF.SERVICE
